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     Fill in this information to identify your case:

         United States Bankruptcy Court for the:

         ____________________  District of _________________
         Eastern District of California      (State)
         Case number (If known): _________________________
                                  2019-21640               Chapter you are filing under:
                                                                    Chapter 7
                                                                    Chapter 11
                                                                    Chapter 12
                                                                 
                                                                 ✔   Chapter 13                                                Check if this is an
                                                                                                                                  amended filing


    Official Form 101
    Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/17

    The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
    joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


    Pa rt 1 :     I de nt ify Yourse lf

                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    1.    Your full name
           Write the name that is on your
           government-issued picture
                                             Debora
                                            __________________________________________________           __________________________________________________
           identification (for example,     First name                                                   First name
           your driver’s license or          Leigh
                                            __________________________________________________           __________________________________________________
           passport).                       Middle name                                                  Middle name

           Bring your picture                Miller-Zuranich
                                            __________________________________________________           __________________________________________________
           identification to your meeting   Last name                                                    Last name
           with the trustee.                ___________________________                                  ___________________________
                                            Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




    2.    All other names you
          have used in the last 8
          years
           Include your married or
           maiden names.




    3.    Only the last 4 digits of                           6    8    1    3
          your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
          number or federal                 OR                                                           OR
          Individual Taxpayer
          Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
          (ITIN)


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                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


    4.   Any business names
         and Employer                
                                     ✔ I have not used any business names or EINs.                 I have not used any business names or EINs.
         Identification Numbers
         (EIN) you have used in      _________________________________________________            _________________________________________________
         the last 8 years            Business name                                                Business name

         Include trade names and
                                     _________________________________________________            _________________________________________________
         doing business as names     Business name                                                Business name



                                     _________________________________________________            _________________________________________________
                                     EIN                                                          EIN

                                     _________________________________________________            _________________________________________________

                                     EIN                                                          EIN



    5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                     9369 Newington Way                                           _________________________________________________
                                     _________________________________________________
                                     Number     Street                                            Number     Street


                                     _________________________________________________            _________________________________________________


                                     Elk Grove                               CA
                                     _________________________________________________
                                                                                       95758      _________________________________________________
                                     City                            State   ZIP Code             City                            State   ZIP Code

                                     Sacramento County                                            _________________________________________________
                                     _________________________________________________
                                     County                                                       County


                                     If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                     above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                     any notices to you at this mailing address.                  any notices to this mailing address.


                                     _________________________________________________            _________________________________________________
                                     Number     Street                                            Number     Street

                                     _________________________________________________            _________________________________________________
                                     P.O. Box                                                     P.O. Box

                                     _________________________________________________            _________________________________________________
                                     City                            State   ZIP Code             City                            State   ZIP Code




    6.   Why you are choosing        Check one:                                                   Check one:
         this district to file for
         bankruptcy                  
                                     ✔ Over the last 180 days before filing this petition, I       Over the last 180 days before filing this petition, I
                                           have lived in this district longer than in any other      have lived in this district longer than in any other
                                           district.                                                 district.

                                      I have another reason. Explain.                             I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




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     Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


     7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
           Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
           are choosing to file
           under
                                           Chapter 7
                                           Chapter 11
                                           Chapter 12
                                          
                                          ✔ Chapter 13




     8.    How you will pay the fee       
                                          ✔
                                            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                           I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


    9.     Have you filed for        No
           bankruptcy within the
                                                      Northern District                                                        2019-30034
                                                                                                        01/11/2019 Case number __________________
           last 8 years?            
                                    ✔
                                      Yes.   District ____________________________________________ When ______________

                                                      Northern District
                                             District ____________________________________________      11/20/2018 Case number __________________
                                                                                                   When ______________         2018-31252

                                                       Northern District
                                             District ____________________________________________ When 09/18/2018                 2017-31023
                                                                                                        ______________ Case number __________________




     10.   Are any bankruptcy              ✔ No
           cases pending or being
           filed by a spouse who is         Yes.
           not filing this case with
           you, or by a business
           partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
           affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                    Debtor _________________________________________________                    R elationship to you ___________________________

                                    District _______________________________________________ When _______________ Case number, if known__________________


    11.    Do you rent your               
                                          ✔ No.    Go to line 12.
           residence?                      Yes.   Has your landlord obtained an eviction judgment against you?


                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                        this bankruptcy petition.




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    Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


    12.   Are you a sole proprietor         
                                            ✔ No. Go to Part 4.
          of any full- or part-time
          business?                          Yes. Name and location of business
          A sole proprietorship is a
          business you operate as an                 _______________________________________________________________________________________
                                                     Name of business, if any
          individual, and is not a
          separate legal entity such as
          a corporation, partnership, or             _______________________________________________________________________________________
                                                     Number    Street
          LLC.
          If you have more than one
                                                     _______________________________________________________________________________________
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.                          _______________________________________________        _______      __________________________
                                                      City                                                  State        ZIP Code


                                                     Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above


    13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
          Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
          Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
          are you a small business
          debtor?
                                            
                                            ✔ No.    I am not filing under Chapter 11.
          For a definition of small
          business debtor, see               No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
          11 U.S.C. § 101(51D).                      the Bankruptcy Code.

                                             Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                     Bankruptcy Code.


    Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


    14.   Do you own or have any            
                                            ✔ No
          property that poses or is
          alleged to pose a threat           Yes.    What is the hazard?
          of imminent and
          identifiable hazard to
          public health or safety?
          Or do you own any
          property that needs
                                                      If immediate attention is needed, why is it needed?
          immediate attention?
          For example, do you own
          perishable goods, or livestock
          that must be fed, or a building
          that needs urgent repairs?
                                                      Where is the property?




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    Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    15.   Tell the court whether
          you have received a
          briefing about credit             You must check one:                                          You must check one:
          counseling.
                                            
                                            ✔ I received a briefing from an approved credit               I received a briefing from an approved credit
                                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
          The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
          receive a briefing about credit      certificate of completion.                                   certificate of completion.
          counseling before you file for
                                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
          bankruptcy. You must
                                               plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
          truthfully check one of the
          following choices. If you          I received a briefing from an approved credit               I received a briefing from an approved credit
          cannot do so, you are not            counseling agency within the 180 days before I               counseling agency within the 180 days before I
          eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                               certificate of completion.                                   certificate of completion.
          If you file anyway, the court
                                               Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
          can dismiss your case, you
                                               you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
          will lose whatever filing fee
                                               plan, if any.                                                plan, if any.
          you paid, and your creditors
          can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
          again.                               services from an approved agency, but was                    services from an approved agency, but was
                                               unable to obtain those services during the 7                 unable to obtain those services during the 7
                                               days after I made my request, and exigent                    days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                               of the requirement.                                          of the requirement.
                                               To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                               required you to file this case.                              required you to file this case.
                                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                               may be dismissed.                                            may be dismissed.
                                               Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                               days.                                                        days.

                                             I am not required to receive a briefing about               I am not required to receive a briefing about
                                               credit counseling because of:                                credit counseling because of:

                                                Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                                  deficiency that makes me                                     deficiency that makes me
                                                                  incapable of realizing or making                             incapable of realizing or making
                                                                  rational decisions about finances.                           rational decisions about finances.
                                                Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                                  to be unable to participate in a                             to be unable to participate in a
                                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                                  through the internet, even after I                           through the internet, even after I
                                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                                Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                                  duty in a military combat zone.                              duty in a military combat zone.
                                               If you believe you are not required to receive a             If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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     Pa rt 6 :     Answ e r T he se Que st ions for Re port ing Purpose s

                                          16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
          you have?
                                                  No. Go to line 16b.
                                               
                                               ✔   Yes. Go to line 17.

                                          16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                               money for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.

                                          16c. State the type of debts you owe that are not consumer debts or business debts.
                                               _______________________________________________________________

    17.   Are you filing under
          Chapter 7?                      
                                          ✔ No.    I am not filing under Chapter 7. Go to line 18.

          Do you estimate that after       Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is                   administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                                No
          administrative expenses
          are paid that funds will be                 Yes
          available for distribution
          to unsecured creditors?

    18.   How many creditors do           
                                          ✔ 1-49                                    1,000-5,000                             25,001-50,000
          you estimate that you            50-99                                   5,001-10,000                            50,001-100,000
          owe?                             100-199                                 10,001-25,000                           More than 100,000
                                           200-999
    19.   How much do you                  $0-$50,000                             
                                                                                   ✔ $1,000,001-$10 million                  $500,000,001-$1 billion
          estimate your assets to          $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
          be worth?                        $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
    20.   How much do you                  $0-$50,000                             
                                                                                   ✔ $1,000,001-$10 million                  $500,000,001-$1 billion
          estimate your liabilities        $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
          to be?                           $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
    Pa rt 7 :      Sign Be low

                                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                               correct.
                                          If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                          of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                          under Chapter 7.
                                          If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                          this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                          I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                          with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                          18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                           /s/ Debora Leigh Miller-Zuranich
                                             ______________________________________________              _____________________________
                                             Signature of Debtor 1                                           Signature of Debtor 2

                                                             06/11/2019
                                             Executed on _________________                                   Executed on __________________
                                                             MM   / DD    / YYYY                                            MM / DD     / YYYY




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                                    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
    For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
    represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                    the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
    If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
    by an attorney, you do not
    need to file this page.
                                    _________________________________
                                      /s/ Peter Cianchetta                                              Date           06/11/2019
                                                                                                                      _________________
                                       Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                         Peter Cianchetta
                                       _________________________________________________________________________________________________
                                       Printed name

                                         Cianchetta & Associates
                                       _________________________________________________________________________________________________
                                       Firm name

                                        8788 Elk Grove Blvd
                                       _________________________________________________________________________________________________
                                       Number Street

                                        Suite 2A
                                       _________________________________________________________________________________________________

                                        Elk Grove                                                       CA            95624
                                       ______________________________________________________ ____________ ______________________________
                                       City                                                    State        ZIP Code




                                       Contact phone 9166857878
                                                     ______________________________         Email address
                                                                                                            plc@eglaw.net
                                                                                                            _________________________________________



                                        220971                                                          CA
                                       ______________________________________________________ ____________
                                       Bar number                                              State




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    Debtor 1      Debora Leigh Miller-Zuranich                           _                  Case number (if known) 2019-21640
                 First Name   Middle Name        Last Name



                                                     Continuation Sheet for Official Form 101
   9) Prior Bankruptcies

   Northern District                         10/16/2017                                  2017-31036




     Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy
